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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


IN RE: PROCEDURES FOR
DISCOVERY MOTIONS
                                                       Case No: 6:20-mc-19-GJK



                      STANDING ORDER ON DISCOVERY MOTIONS

      In an effort “to secure the just, speedy, and inexpensive determination” of

any action in which this Order is filed, Federal Rule of Civil Procedure 1, it is

ORDERED as follows:

      (1) If a discovery dispute arises, the parties must confer in person or via

telephone in a good faith effort to resolve the dispute before seeking court

intervention. See Local Rule 3.01(g).

      (2) If the parties are unable to resolve the discovery dispute, a party may

seek court intervention, but must do so by filing a Short-Form Discovery Motion

(the “Motion) in compliance with this Order. Neither the Motion nor any

response thereto shall exceed 500 words, exclusive of caption, signature block,

and certifications.

      (3) If applicable, the parties must follow, and the Motion must comply, with

the undersigned’s Standing Order Regarding Privileged and Protected

Information, Case No. 6:18-mc-20-Orl-GJK, and Standing Order Regarding
 Case
   Case
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Confidential Information, Case No. 6:18-mc-21-Orl-GJK, which can be found on

the Court’s website.

      (4) The Movant must attach to the Motion the discovery request and

discovery response (if applicable).

      (5) If time-sensitive, the Motion must be filed and captioned as “time-

sensitive.”

      (6) Any party opposing the Motion shall file a response no later than

seven calendar days after the Motion is filed (see Federal Rule of Civil Procedure

6(a)); a failure to file a timely response will result in the Motion being deemed

unopposed.

      (7) To resolve the dispute, the Court may decide the dispute on the basis of

the Motion and any response, set a hearing, or order further briefing.

      (8) In the Motion or response, a party may request additional briefing, but

such a request must accompany, and not replace, the substantive argument.

      (9) The parties must continue to confer concerning the dispute and must

promptly notify the Court if they resolve the Motion in whole or in part.

      (10) If a hearing is set, the parties shall file a joint notice two calendar days

before the hearing certifying ongoing conferral and stating which issues, if any,

have been resolved.




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        The Court expects all parties to act courteously and professionally in the

resolution of their discovery disputes. The Court may impose appropriate

sanctions upon a finding of failure to comply with this Order or upon a finding of

other discovery misconduct.

        The Clerk of Court is ORDERED to VACATE the Standing Order

Regarding Discovery Procedures previously filed at docket entry #1 on May 11,

2020.

        DONE and ORDERED in Orlando, Florida on February 1, 2021.




Copies furnished to:
Counsel of Record
Unrepresented Parties




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